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                                                        U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York

                                                        86 Chambers Street, Third Floor
                                                        New York, New York 10007

                                                        March 10, 2021

By ECF
The Honorable Sidney H. Stein
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:      People of the State of New York, et al. v. Office of the Comptroller of the
                Currency, 21 Civ. 57 (SHS)

Dear Judge Stein:

        This Office represents defendants the Office of the Comptroller of the Currency (“OCC”)
and Acting Comptroller of the Currency Blake Paulson in the above-referenced matter. 1 We
write respectfully on behalf of all the parties to request (i) an extension of defendants’ time to
answer the complaint; (ii) the Court’s endorsement of the parties’ proposed schedule for
production of the administrative record and cross-motions for summary judgment; and (iii) an
adjournment of the initial pretrial conference.

        First, defendants respectfully request an extension of their time to answer the complaint,
from Monday, March 15, 2021, to Wednesday, April 14, 2021. This is defendants’ first motion
for an extension of time to answer, and plaintiffs consent to the request. We make this request
because, in light of the press of business and in connection with its compilation of the
administrative record, OCC requires additional time to prepare its answer.

        Second, the parties have conferred regarding their anticipated cross-motions for summary
judgment on plaintiffs’ claims, which challenge OCC’s “True Lender Rule” under the
Administrative Procedure Act. In addition to extending OCC’s time to answer, the parties
respectfully request that the Court endorse the following schedule for this case going forward:

       •     Wednesday, April 28, 2021: Defendants file the administrative record.
       •     Friday, June 4, 2021: Plaintiffs file their motion for summary judgment.


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                Pursuant to Federal Rule of Civil Procedure 25(d), Blake Paulson is automatically
substituted for former Acting Comptroller of the Currency Brian P. Brooks as a defendant in this
matter.
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       •    Friday, July 9, 2021: Defendants file their cross-motion for summary
            judgment/opposition to plaintiffs’ motion.
       •    Friday, July 30, 2021: Plaintiffs file their opposition to defendants’ cross-
            motion/reply in further support of their motion.
       •    Friday, August 20, 2021: Defendants file their reply in further support of their cross-
            motion.

        Finally, in light of their agreement on a proposed schedule for production of the
administrative record and summary judgment briefing, the parties believe that the initial
telephonic pretrial conference, currently scheduled for Friday, April 2, 2021 at 10:00 a.m. (ECF
No. 22), is unnecessary. Accordingly, if the Court were to grant OCC’s extension and endorse
the parties’ proposed schedule, and unless the Court otherwise requires a conference, the parties
respectfully request that the conference be adjourned sine die.

       The parties thank the Court for its consideration of this letter.


                                                        Respectfully submitted,

                                                        AUDREY STRAUSS
                                                        United States Attorney for the
                                                        Southern District of New York

                                                By:      /s/ Christopher Connolly
                                                        CHRISTOPHER CONNOLLY
                                                        Assistant United States Attorney
                                                        86 Chambers Street, 3rd Floor
                                                        New York, New York 10007
                                                        Tel.: (212) 637-2761
                                                        Fax: (212) 637-2786
                                                        E-mail: christopher.connolly@usdoj.gov


cc:   Counsel of record (by ECF)




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